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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                         CaseNumber:12-14065-CR-M ARTINEZ(s)(s)
   IJXITED STATESoFAM Em CA                                                                    (
                           ,                                                                   t
          Plaintiff,                                                                           t
  VS.

  SAM TANNA RODERICK BURGESS,

         Defendant.
                                               !
                                                                                               $
         ORDER ADOPTING M AGISTRATE'S REPO RT AND RFCOM M ENDATION

        THIS CAUSE came before the Courtupon the Reportand Reco
                                                               mm endation regarding           $
 Crim inalJusticeActVoucherFLS 12 1898issued by United StatesM agistrateJudgeFrankJ
                                                                                  .   Lynch,
 Jr,on August1,2013(D.E.#179),recommendstothisCourt, thatCJA Voucher#FLS 12 1898 be
 Granted and thatEdward Reagan, Esquire bepaid a totalsum of$10 643.38. The partieswere
                                                                   ,


 affordedtheopportunityto fileobjectionstotheReportandRecommendation, howevernonewere
 filed.Accordingly, theCourthasconsideredtheReportandRecomm endation
                                                                       thepertinentpartsof
                                                                       ,

therecord,forthereasonsstated intheReportoftheM agistrateJudge,and uponindependentreview

ofthefileand being otherwise fully advised in the premises, itis

        O RDERED AND ADJUDG ED thatUnited StatesM agistrate Judge Frank J.Lynch,Jr's

ReportandRecomm endation ishereby ADOPTED and AFFIRM ED .

        DONE AND O RDERED in ChambersatM iam i, Florida,thisD 0 dayofAugust
                                                                          , 2013.

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                                                                                               .
                                                               /


                                                   JOS E ARTINEZ
                                                   1+ 1  STATES DISTRICT JUDGE
Copiesprovided to:
M agistrate Judge Lynch
Edward Reagan,Esq
Lucy Lara,CJA A dm inistrator
